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 8                                 UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                      CASE NO. 2:18-CR-00010-TLN
12                                Plaintiff,        STIPULATION REGARDING EXCLUDABLE
                                                    TIME PERIODS UNDER SPEEDY TRIAL
13                           v.                     ACT; FINDINGS AND ORDER
14   JOSHUA SIMS,                                   DATE: April 11, 2019
     JAMES MASTERSON,                               TIME: 9:30 a.m.
15   EDGAR JIMENEZ, AND                             COURT: Hon. Troy L. Nunley
     REGINALD PAJIMOLA,
16
                                  Defendants.
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19                                             STIPULATION

20         1.      By previous order, this matter was set for status on April 11, 2019.

21         2.      By this stipulation, defendants now move to continue the status conference

22 until June 6, 2019, at 9:30 a.m., and to exclude time between April 11, 2019, and June 6,

23 2019, under Local Code T4.

24         3.      The parties agree and stipulate, and request that the Court find the

25 following:

26                 a)     The government has represented that the discovery associated with

27         this case includes over 14,000 pages and several hours of recorded telephone

28         conversations. All of this discovery has been produced directly to counsel.


      STIPULATION REGARDING EXCLUDABLE TIME         1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1                 b)     Defense counsel desires additional time to review the discovery,

 2         conduct research into the case, to discuss the case with their clients, and otherwise

 3         prepare for trial in this matter.

 4                 c)     Counsel for defendants believe that failure to grant the above-

 5         requested continuance would deny them the reasonable time necessary for effective

 6         preparation, taking into account the exercise of due diligence.

 7                 d)     The government does not object to the continuance.

 8                 e)     Based on the above-stated findings, the ends of justice served by

 9         continuing the case as requested outweigh the interest of the public and the

10         defendant in a trial within the original date prescribed by the Speedy Trial Act.

11                 f)     For the purpose of computing time under the Speedy Trial Act, 18

12         U.S.C. § 3161, et seq., within which trial must commence, the time period of April

13         11, 2019, to June 6, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§

14         3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted

15         by the Court at defendant’s request on the basis of the Court’s finding that the ends

16         of justice served by taking such action outweigh the best interest of the public and

17         the defendant in a speedy trial.

18         4.      Nothing in this stipulation and order shall preclude a finding that other

19 provisions of the Speedy Trial Act dictate that additional time periods are excludable from

20 the period within which a trial must commence.

21         IT IS SO STIPULATED.

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23   Dated: April 9, 2019                              MCGREGOR W. SCOTT
                                                       United States Attorney
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25                                                     /s/ JUSTIN L. LEE
                                                       JUSTIN L. LEE
26                                                     Assistant United States Attorney
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      STIPULATION REGARDING EXCLUDABLE TIME        2
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     Dated: April 9, 2019                         /s/ CANDICE FIELDS
1                                                 CANDICE FIELDS
                                                  (as authorized on April 9, 2019)
2                                                 Counsel for Defendant
                                                  Reginald Pajimola
3    Dated: April 9, 2019                         /s/ TODD LERAS
                                                  TODD LERAS
4                                                 (as authorized on April 9, 2019)
                                                  Counsel for Defendant
5                                                 Edgar Jimenez
     Dated: April 9, 2019                         /s/ KYLE KNAPP
6                                                 KYLE KNAPP
                                                  (as authorized on April 9, 2019)
7                                                 Counsel for Defendant
                                                  Joshua Sims
8    Dated: April 9, 2019                         /s/ DANIEL OLSON
                                                  DANIEL OLSON
9                                                 (as authorized on April 9, 2019)
                                                  Counsel for Defendant
10                                                James Masterson
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13                                    FINDINGS AND ORDER
14        IT IS SO FOUND AND ORDERED this 9th day of April, 2019.
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18                                                     Troy L. Nunley
                                                       United States District Judge
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     STIPULATION REGARDING EXCLUDABLE TIME    3
     PERIODS UNDER SPEEDY TRIAL ACT
